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                                    EXHIBIT 1

 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts




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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts
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  #           Subject Photographs                      Accused Posts
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 #            Subject Photographs                      Accused Posts




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  #           Subject Photographs                      Accused Posts
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  #           Subject Photographs                      Accused Posts
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  #           Subject Photographs                      Accused Posts
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